The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
This opinion letter is in response to your request for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition relating to a proposed law regarding unidentified flying objects. A copy of the initiative petition that you submitted to this office on February 23, 2000, is attached for reference.
We approve the petition as to form. However, since the Secretary of State has been given final approval or rejection authority under Section 116.332, our approval of the form of the petition does not preclude you from rejecting the petition.
Inasmuch as our review is simply for the purpose of determining sufficiency as to form, the fact that we do not reject the petition is not to be construed as a determination that the petition is sufficient as to substance. Likewise, since our review is mandated by statute, no action we take with
respect to such review should be construed as an endorsement of the petition or as the expression of any view respecting the adequacy or inadequacy of the petition generally or of the objectives of its proponents.
Very truly yours,
                                   JEREMIAH W. (JAY) NIXON Attorney General